             Case 2:17-cv-04776-CJB-KWR Document 2 Filed 05/10/17 Page 1 of 5




                                                  UNITED STATES DISTRICT COURT

                                                 EASTERN DISTRICT OF LOUISIANA

DIANE RATCLIFF                         *                                                        CIVIL ACTION NO.:
                                       *
VERSUS                                *
                                       *                                                        HONORABLE JUDGE:
WINN-DIXIE STORES, INC.               *
AND/OR                                 *
WINN-DIXIE MONTGOMERY, LLC             *                                                        DIVISION: “                     ”
                                       *
                                       *                                                        HONORABLE MAGISTRATE:
                                       *
                                       *
                                       *                                                        SECTION: (                          )
***************************************

                                                               NOTICE OF REMOVAL

             Winn-Dixie Stores, Inc. and Winn-Dixie Montgomery, LLC, defendants in the lawsuit filed

in the Civil District Court, Parish of Orleans, State of Louisiana, Docket No. 2017-2911, Division

“G”, file this Notice of Removal of that lawsuit to the United States District Court, Eastern District

of Louisiana.

                                                                                       I.

             This lawsuit was faxed filed on March 28, 2017 in the Civil District Court, Parish of Orleans,

State of Louisiana, by Diane Ratcliff against Winn-Dixie Stores, Inc. and Winn-Dixie Montgomery,

LLC. (See attached Exhibit A - Petition for Damages).

                                                                                       II.

             Thereafter on March 29, 2017, the original Petition was supplemented into the record via

hard copy. (See attached Exhibit A - Petition for Damages).




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Case 2:17-cv-04776-CJB-KWR Document 2 Filed 05/10/17 Page 2 of 5
Case 2:17-cv-04776-CJB-KWR Document 2 Filed 05/10/17 Page 3 of 5
Case 2:17-cv-04776-CJB-KWR Document 2 Filed 05/10/17 Page 4 of 5
Case 2:17-cv-04776-CJB-KWR Document 2 Filed 05/10/17 Page 5 of 5
